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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION


 CANOPY GROWTH CORPORATION,                           §
            Plaintiff                                 §
                                                      §      6-20-CV-01180-ADA
 -v-                                                  §
                                                      §
 GW PHARMACEUTICALS PLC, GW                           §
 PHARMA LTD., GW RESEARCH                             §
 LTD.,                                                §
             Defendants                               §
                                                      §


     CLAIM CONSTRUCTION ORDER AND MEMORANDUM IN SUPPORT THEREOF

        Before the Court are the parties’ claim construction briefs: GW defendants’ (“Defendants”)

Opening and (corrected) Reply briefs (ECF Nos. 27 and 32, respectively) and Plaintiff’s Response

and Sur-Reply briefs (ECF Nos. 30 and 35, respectively). The Court held a Markman hearing on

October 9, 2021.



I.      Background

        Plaintiff filed this lawsuit on December 20, 2020 alleging infringement of at least Claims

1 and 14 of U.S. Patent No. 10,870,632. ECF No. 1 at ¶ 21. The ’632 Patent is entitled “Process

for producing an extract containing tetrahydrocannabinol and cannabidiol from cannabis plant

material, and cannabis extracts” and is directed towards “producing an extract from cannabis plant

matter, containing tetrahydrocannabinol, cannabidiol and optionally the carboxylic acids thereof.”

Abstract.

        The parties dispute the meaning of “CO2 in liquified form under subcritical pressure and

temperature conditions.” Carbon dioxide, CO2, commonly exists as solid, liquid, or gas. But when

both the pressure and temperature are above the “critical point,” CO 2 exists as a supercritical fluid.

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See, e.g., Response, Ex. 3 at 12.4.1. Supercritical fluid has the characteristics of both a liquid and

a gas. Response at 2. The following figure is the phase diagram of CO 2.




Response, Ex. 3. This figure depicts the critical point at a temperature of 30.98°C and a pressure

of 72.79 atm (or 73.75 bar). This figure also depicts the range of pressures and temperatures where

CO2 is a supercritical fluid.



II.    Legal Standard

       The general rule is that claim terms are generally given their plain-and-ordinary meaning.

Phillips v. AWH Corp., 415 F.3d 1303, 1312 (Fed. Cir. 2005) (en banc); Azure Networks, LLC v.

CSR PLC, 771 F.3d 1336, 1347 (Fed. Cir. 2014), vacated on other grounds, 575 U.S. 959, 959

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(2015) (“There is a heavy presumption that claim terms carry their accustomed meaning in the

relevant community at the relevant time.”). The plain and ordinary meaning of a term is the

“meaning that the term would have to a person of ordinary skill in the art in question at the time

of the invention.” Philips, 415 F.3d at 1313.

       The “only two exceptions to [the] general rule” that claim terms are construed according

to their plain and ordinary meaning are when the patentee (1) acts as his/her own lexicographer or

(2) disavows the full scope of the claim term either in the specification or during prosecution.

Thorner v. Sony Computer Entm’t Am. LLC, 669 F.3d 1362, 1365 (Fed. Cir. 2012). To act as

his/her own lexicographer, the patentee must “clearly set forth a definition of the disputed claim

term,” and “clearly express an intent to define the term.” Id.

       “Like the specification, the prosecution history provides evidence of how the PTO and the

inventor understood the patent.” Phillips, 415 F.3d at 1317. “Distinguishing the claimed invention

over the prior art during prosecution indicates what a claim does not cover.” Spectrum Int’l, Inc.

v. Sterilite Corp., 164 F.3d 1372, 1378–79 (Fed. Cir. 1988). The doctrine of prosecution disclaimer

precludes a patentee from recapturing a specific meaning that was previously disclaimed during

prosecution. Omega Eng’g, Inc. v. Raytek Corp., 334 F.3d 1314, 1323 (Fed. Cir. 2003). “[F]or

prosecution disclaimer to attach, our precedent requires that the alleged disavowing actions or

statements made during prosecution be both clear and unmistakable.”              Id. at 1325–26.

Accordingly, when “an applicant’s statements are amenable to multiple reasonable interpretations,

they cannot be deemed clear and unmistakable.” 3M Innovative Props. Co. v. Tredegar Corp., 725

F.3d 1315, 1326 (Fed. Cir. 2013).

       “Although the specification may aid the court in interpreting the meaning of disputed claim

language, particular embodiments and examples appearing in the specification will not generally



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be read into the claims.” Constant v. Advanced Micro-Devices, Inc., 848 F.2d 1560, 1571 (Fed.

Cir. 1988). “[I]t is improper to read limitations from a preferred embodiment described in the

specification—even if it is the only embodiment—into the claims absent a clear indication in the

intrinsic record that the patentee intended the claims to be so limited.” Liebel-Flarsheim Co. v.

Medrad, Inc., 358 F.3d 898, 913 (Fed. Cir. 2004).

       Under the doctrine of claim differentiation, a court presumes that each claim in a patent

has a different scope. Phillips, 415 F.3d at 1314-15. The presumption is rebutted when, for

example, the “construction of an independent claim leads to a clear conclusion inconsistent with a

dependent claim.” Id. The presumption is also rebutted when there is a “contrary construction

dictated by the written description or prosecution history.” Seachange Int’l., Inc. v. C-COR, Inc.,

413 F.3d 1361, 1369 (Fed. Cir. 2005). The presumption does not apply if it serves to broaden the

claims beyond their meaning in light of the specification. Intellectual Ventures I LLC v. Motorola

Mobility LLC, 870 F.3d 1320, 1326 (Fed. Cir. 2017).

       Although extrinsic evidence can be useful, it is “‘less significant than the intrinsic record

in determining the legally operative meaning of claim language.’” Phillips, 415 F.3d at 1317

(quoting C.R. Bard, Inc. v. U.S. Surgical Corp., 388 F.3d 858, 862 (Fed. Cir. 2004)). Technical

dictionaries may be helpful, but they may also provide definitions that are too broad or not

indicative of how the term is used in the patent. Id. at 1318. Expert testimony also may be helpful,

but an expert’s conclusory or unsupported assertions as to the meaning of a term are not. Id.




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III.      The Parties’ Respective Positions and the Court’s Analysis

          There is only one disputed term. The following table summarizes the parties’ respective

proposed constructions. 1

               Term                        Plaintiff’s Proposed                 Defendants’ Proposed
                                               Construction                          Construction
    “CO2 in liquified form under       Plain-and-ordinary meaning            CO2 in liquified form under
    subcritical pressure and                                                 both subcritical pressure and
    temperature conditions”                                                  temperature conditions

    U.S. Patent No. 10,870,632
    Patent, Claims 1, 14

    Proposed by Defendants


          The key difference between the parties’ position is as follows. Defendants contend that

“subcritical pressure and temperature conditions” means that both the pressure and temperature

need to be below the critical pressure and critical temperature, respectively. Opening at 1.

Plaintiff, by contrast, contends that “subcritical” simply means “not supercritical.” See Response

at 8-10. As such, at least according to Plaintiff, because being supercritical requires both the

pressure and temperature to be above the critical pressure and critical temperature, respectively, if

either the pressure or temperature—but not both—is above its corresponding critical value, then

the CO2 is not supercritical, but rather is subcritical. Id.

          Pictorially, the dispute for this term centers around whether the striped shaded area in the

below figure should be included within the scope of the term. Response at 5-6. Defendants

contend that the shaded area is outside the scope of this term while Plaintiff contends that it is

within the scope of this term.



1
 A day or two prior to the Markman hearing, the Court provided the parties the following preliminary construction:
Plain-and-ordinary meaning wherein the plain-and-ordinary meaning is “CO2 in liquified form under both subcritical
pressure and temperature conditions.”

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        Both sides assert that the claim language, specification, prosecution history, and extrinsic

evidence supports its proposed construction. After carefully reviewing the parties’ arguments and

the applicable law, for the reasons that follow, the Court adopts a form of Defendants’ proposed

contruction, namely, the Court adopts: plain-and-ordinary meaning wherein the plain-and-ordinary

meaning is “CO2 in liquified form under both subcritical pressure and temperature conditions” as

its final construction.

        It is important to note that while the Court essentially adopts Defendants’ proposed

construction, the Court does not do so based on lexicography or a finding of a prosecution

disclaimer. Rather, the Court bases its decision on the plain language of the claims and the


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specification, and to a lesser degree, the prosecution history. Accordingly, the Court believes that

the plain-and-ordinary meaning, with a further explanation as to what the plain-and-ordinary

meaning is, is the correct construction. O2 Micro Int’l v. Beyond Innovation Tech. Co., 521 F.3d

1351, 1362 (Fed. Cir. 2008) (“In this case, the ‘ordinary’ meaning of a term does not resolve the

parties’ dispute, and claim construction requires the court to determine what claim scope is

appropriate in the context of the patents-in-suit.”).

       a. Claim language

                            Arguments in Defendants’ Opening Brief

       Defendants contend that the claim language supports their proposed construction. Opening

at 6–7. In particular, Defendants contend that both claims 1 and 14 recite that the “CO 2 in liquified

form under subcritical pressure and temperature conditions” requires that the CO 2 is under both

subcritical pressure and subcritical temperature. See id. at 6. In support of their contention,

Defendants point out that both claims 1 and 14 use the conjunction “and”—as compared to “or”

—which indicates that both the pressure and temperature need to be below their respective critical

values. Id. at 6. Defendants also points out that the claim term uses the plural form of “condition.”

Id.

                             Arguments in Plaintiff’s Response Brief

       In response, Plaintiff contends Defendants “overemphasi[zes]” the conjunction “and” and

the plural nature of “conditions.” Response at 8. Plaintiff contends that this overemphasis “ignores

the full context of the claim language and is inconsistent with express embodiments in the

specification, which discloses ‘subcritical’ embodiments in which temperature is below the critical

point and pressure is above the critical point.” Id. (The express embodiments that Plaintiff cites




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are described in the specification at 5:10–20 and 6:10–12, and which are discussed in more detail

below.)

       Plaintiff also contends that some dependent claims support its contention that the term

“subcritical pressure and temperature conditions” does not require that both the pressure and

temperature need to be below their respective critical values. Response at 9. Plaintiff specifically

contends that

       Dependent Claims 3–5 and 16–18 recite either specific pressures below the critical
       pressure (Pc) or specific temperatures below the critical temperature (T c) for the
       extracting step. None of the claims, whether independent or dependent, requires
       “both” a pressure below the critical pressure and a temperature below the critical
       temperature, as GW attempts to read into all claims.

Id.

                            Arguments in Defendants’ Reply Brief

       Defendants contends that Plaintiff is attempting a sleight-of-hand by striking the words

“pressure and temperature” from the claim term to leave the broader “subcritical conditions.”

Reply at 1-8. More specifically, Defendants contend that Plaintiff’s response is directed only at

“subcritical conditions” and not “subcritical pressure and temperature conditions,” which

effectively renders “pressure and temperature” to be superfluous. Reply at 1-2, 4 (emphasis

added). Defendants also contend that the term “subcritical conditions” does not appear in the

claims or the specification. Reply at 1-2. Similarly, Defendants claim that it defies logic and

blackletter law that “subcritical conditions” is equivalent to “subcritical pressure and temperature

conditions.” Reply at 5.

                           Arguments in Plaintiff’s Sur-Reply Brief

       In its sur-reply, Plaintiff contends that Defendants’ grammatical analysis is incorrect

because it is based on “subcritical” modifying “pressure and temperature.” Sur-Reply at 2.



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Plaintiff contends that the correct reading is that “subcritical pressure and temperature” modifies

“conditions.” Id. To support that argument, Plaintiff points the specification and file history’s use

of “pressure and temperature conditions subcritical for CO 2.” Id.

                                      The Court’s Analysis

       The Court finds that the plain language of the claims supports Defendants’ proposed

construction for the reasons that follow. Claims 1 and 14 both use the conjunction “and,”

indicating that “both” pressure and temperature must be subcritical. TIP Sys., LLC v. Phillips &

Brooks/Gladwin, Inc., 529 F.3d 1364, 1376 (Fed. Cir. 2008) (affirming the district court’s

construction of the term “said dial tone actuating switch electronically connected to said phone

line and said electronic circuit” to mean “said dial tone actuating switch electronically connected

to both the said phone line and said electronic circuit board, such that electricity can pass among

these elements.”). Had the patentee intended that the scope of either claim encompass either

subcritical pressure or subcritical temperature, but not both, the patentee could have simply

replaced “and” with “or.”

       With respect to the claims’ usage of the word “conditions,” the Court finds that this word

does not favor either party’s proposed construction. On its face and in a vacuum, the plural form

of “condition” could support Defendants’ effective proposed construction of “subcritical pressure

and subcritical temperature conditions.” Opening at 6. But it could also support Plaintiff’s

position that “pressure and temperature conditions” simply describes the fact that “pressure and

temperature conditions determine the phase of CO 2.” Response at 8.

       With respect to this point, the specification and prosecution history potentially provide

support to both sides. For example, Plaintiff correctly contends that the specification consistently

uses the plural form when referring to conditions for only one of pressure or temperature.



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Response at 8–9 (citing 7:49, 10:31–33). But while these passages recite “subcritical conditions”

of pressure or temperature, it is not clear from the face of the specification whether “subcritical

conditions” refers to 1) describing that either the pressure or temperature needs to be below its

respective critical value or 2) a range of pressures or a range of temperatures.

       With respect to the prosecution history, the applicant paraphrased this term as “subcritical

conditions of temperature and pressure.”       Response, Ex. C at Canopy_000000236.          Here,

“subcritical” directly modifies “conditions,” which unambiguously indicates that there is more

than one subcritical condition. (By contrast, the word “conditions” in the phrase “subcritical

pressure and temperature conditions” is ambiguous whether there is more than one subcritical

condition.) Because this passage from the prosecution history recites “subcritical conditions

temperature and pressure”—as compared to “subcritical conditions temperature or pressure”—this

indicates that both pressure and temperature must be subcritical.

       The Court does not agree with to Plaintiff’s argument that the dependent claims support its

contention that the term “subcritical pressure and temperature conditions” does not require that

both the pressure and temperature need to be below the critical values. Response at 9. More

specifically, Plaintiff contends that

       Dependent Claims 3–5 and 16–18 recite either specific pressures below the critical
       pressure (Pc) or specific temperatures below the critical temperature (T c) for the
       extracting step. None of the claims, whether independent or dependent, requires
       “both” a pressure below the critical pressure and a temperature below the critical
       temperature, as GW attempts to read into all claims.

Id. Dependent claims 3–5 and 16–18 provide:

       3. The process according to claim 1, wherein in step (1) the CO2 in liquefied form
          is at a pressure of 70 bar or less.
       4. The process according to claim 3, wherein in step (1) the CO2 in liquefied form
          is at a temperature of between about 20° C. to about 30° C.



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       5. The process according to claim 1, wherein in step (1) the CO2 in liquefied form
          is at a pressure of about 60 bar.
       16. The process according to claim 14, wherein in step (2) the CO 2 in liquefied form
           is at a pressure of 70 bar or less.
       17. The process according to claim 16, wherein in step (2) the CO 2 in liquefied form
           is at a temperature of between about 20° C. to about 30° C.
       18. The process according to claim 14, wherein in step (2) the CO 2 in liquefied form
           is at a pressure of about 60 bar.

Plaintiff is correct that the dependent claims do not “require[] ‘both’ a pressure below the critical

pressure and a temperature below the critical temperature.” Response at 9. But Plaintiff is

incorrect that, due to claim differentiation, the independent claims also do not “require[] ‘both’ a

pressure below the critical pressure and a temperature below the critical temperature.” Id. More

specifically, Claims 3 and 16 require that the pressure must be 70 bar or lower while Claims 5 and

18 require that the pressure must be 60 bar or lower. Both of these values are lower than the critical

pressure of 73.75 bar. Similarly, Claims 4 and 17 require that the temperature be between “about

20° C to about 30° C,” both of which are lower than the critical temperature of 30.98°C. Therefore,

because the required pressures and temperature in the dependent claims are lower than their

respective critical values, the Court is not required to construe “subcritical pressure and

temperature conditions” in the independent claims as requiring that either the pressure or

temperature be below its respective critical value, in order to maintain at least one difference

between the independent and dependent claims. Rather, the independent claims could be construed

as requiring both the pressure and temperature to be below their respective critical values without

violating the doctrine of claim differentiation. By contrast, if the required pressure or temperature

in the dependent claims were required to be equal to or lower than their respective critical values,

then in order to not violate the doctrine of claim differentiation, the Court would have to construe




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that “subcritical pressure and temperature conditions” in the independent claims requires that only

one of pressure or temperature can be below their respective critical value, but not both.

       Finally, the Court finds that Plaintiff’s position that this claim term does not require that

both the pressure and temperature be below their respective critical values is incorrect because it

effectively substitutes “or” for “and.”

       b. Specification

                           Arguments in Defendants’ Opening Brief

       Defendants contend that the specification supports their proposed construction. Opening

at 7–9. Defendants primarily point to following passage, which describes extracting the “plant

material” according to different temperature and pressure conditions”:

       [P]lant material is extracted with the aid of CO2 under (1) supercritical pressure and
       temperature conditions at a temperature in the range of approx. [sic], 31° C. to 80°
       C. and at a pressure in the range of approx. [sic] 75 bar to 500 bar, or in the (2)
       subcritical range at a temperature of approx. [sic] 20° C. to 30° C[] and a
       supercritical pressure of approx. [sic] 100 bar to 350 bar; or extracted under (3)
       subcritical pressure and temperature conditions; and the obtained primary extract is
       separated under subcritical conditions, or under conditions that are subcritical in
       terms of pressure and supercritical in terms of temperature.

Id. at 7 (quoting 5:10-20 (typos corrected; numerical annotations added by Defendants)).

Defendants contend that this passage describes three different sets of pressure and temperature

combinations:

       (1) Supercritical pressure and supercritical temperature: pressure is
           approximately 75 bar to 500 bar (critical pressure is 73.75 bar) while
           temperature is approximately 31° C. to 80° C (critical temperature is 30.98° C).
       (2) Supercritical pressure and subcritical temperature: pressure is
           approximately 100 bar to 350 bar (critical pressure is 73.75 bar) while
           temperature is approximately 20° C. to 30° C).
       (3) Subcritical pressure and subcritical temperature: pressure is less than
           critical pressure and temperature is less than critical temperature




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Opening at 7. Defendants contends that its proposed construction captures the scope of the third

set of temperature and pressure conditions, while Plaintiff’s proposed construction of plain-and-

ordinary meaning improperly captures the second (subcritical temperature and supercritical

pressure) and third (subcritical temperature and subcritical pressure) set of conditions. Id. at 8.

       Defendants also contend that the specification uses variations of “subcritical pressure and

temperature” only in connection with pressures and temperatures that are both below the critical

point. Id. In particular, Defendants point to the following passages from the specification:

          7:22–24: “The obtained extract is separated out under pressure and temperature
           conditions subcricital [sic] for CO2, preferably at approx. 55 bar and approx, [sic] 25°
           C.”
          7:51–56: “[I]n the second and third separating vessels, where Δ8-THC and Δ9-THC
           are separated out, conditions subcricital [sic] for CO 2 in terms of pressure and
           temperature are to prevail, in the second separating vessel preferably 60 bar and 30°
           C., in the third separating vessel preferably 55 bar and 25° C.”

Id. Because these passages describe that both the pressure and temperature are below their

corresponding critical values, Defendants contend that “subcritical” pressure and temperature

“conditions” requires that both the pressure and temperature must be below their corresponding

critical values, which is only reflected in Defendants’ proposed construction. Id.

                             Arguments in Plaintiff’s Response Brief

       In its response, Plaintiff contends that Defendants’ proposed construction is incorrect

because the claims use the word “conditions.” Response at 7. More specifically, Plaintiff contends

that “GW ignores that the claims recite ‘subcritical pressure and temperature conditions,’ and not

just ‘subcritical pressure and temperature.’” Id. Plaintiff cites to 6:3-12 in support of its argument:

       The extraction process of the invention preferably operates in the supercritical
       range at a temperature of approx. 31° C. to 80° C. and a pressure of approx. 75 bar
       to 500 bar, in particular at a temperature of approx. 45° C. to 65° C. and a pressure
       of approx. 100 bar to 350 bar, preferably at a temperature of approx. 60° C. and a
       pressure of approx. 250 bar.


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        In the subcricital [sic] range, in contrast, a temperature of approx. 20° C. to 30° C.
        and a supercritical pressure of approx. 100 bar to 350 bar are used.

Id. This passage describes two “ranges”—supercritical and subcritical—wherein the subcritical

range has a supercritical pressure of approximately 100 bar to 350 bar and a subcritical temperature

of approximately 20° C. to 30° C. Based on this passage, Plaintiff argues that “subcritical pressure

and temperature conditions” occur when either the pressure or temperature—but not both—are

below their respective critical values.

        Plaintiff points to 6:3–12 for the proposition that anything that is not supercritical is

subcritical.   Response at 10 (“The specification contrasts these subcritical conditions from

supercritical conditions, in which both temperature and pressure are above the critical point.”).

Plaintiff also contends that 5:10–20 supports its contention that “subcritical range” may include

the combination of subcritical temperature but supercritical pressure. Response at 10.

        Plaintiff contends that Defendants are incorrect that 5:10–20 discloses three embodiments.

Response at 10-11. Rather, Plaintiff contends that it discloses two embodiments, namely, that the

second embodiment (“in the subcritical range at a temperature of approx. 20° C. to 30° C. and a

supercritical pressure of approx. 100 bar to 350 bar;”) is a subset of the third embodiment (“under

subcritical pressure and temperature conditions;”).

        With respect to the two other passages Defendants cited as support for its construction,

Plaintiff contends that Defendants incorrectly cite passages regarding “separation” when the

relevant claim language focuses of “extraction.” Id. at 12 (analyzing 7:22–24, 7:57). Plaintiff also

contends that these passages use “preferably” which indicates that these examples are non-limiting.

Id.

        With respect to Defendants’ argument that the claim term uses the plural form of

“condition,” Plaintiff contends that “the specification consistently uses the plural ‘conditions,’

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even when referring to conditions for only one of pressure or temperature.” Response at 8–9

(citing 7:49, 10:31–33).

       Based on the foregoing, Plaintiff contends that Defendants has failed to prove lexicography

and that Defendants’ proposed construction would improperly read out an express subcritical

embodiment. Id.

                            Arguments in Defendants’ Reply Brief

       In its reply, Defendants contends that the passages from the specification that Plaintiff cites

does not support its proposed construction because 5:10–20 discloses three embodiments, and not

the two claimed by Plaintiff.     Reply at 5–6.       In particular, Defendants point out that the

specification never describes the second embodiment as a subset of the third. Id. at 7.

       Defendants contend that every exemplary embodiment that uses the phrase “subcritical

pressure and temperature conditions” describes that both pressure and temperature are below their

corresponding critical values. Reply at 7. By contrast, Defendants contend Plaintiff has not

pointed to any embodiment that uses the full claim term that describes that the pressure or

temperature is above the corresponding critical value. Id.

                           Arguments in Plaintiff’s Sur-Reply Brief

       In its sur-reply, Plaintiff contends that 5:10–20 and 6:3–12 describe the “subcritical range”

and that Defendants only addresses the former passage. Sur-Reply at 3. Plaintiff further contends

that the specification uses “or” to describe interchangeable concepts. Sur-Reply at 3 (citing 2:40–

44). As such, the second embodiment in 5:10–20 is a subset of the third embodiment, as those are

“interchangeable.” Id. Plaintiff further argues that neither 5:10–20 and 6:3–12:

       contrasts the subcritical embodiment comprising pressure above P c and temperature
       below Tc with “subcritical pressure and temperature conditions.” ’632 Patent at
       5:10-20, 6:3-12. Thus, reading the two columns together, as a POSITA would,
       reveals that the embodiment for extraction in the “subcritical range” and

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       “subcritical pressure and temperature conditions” are not mutually exclusive as GW
       assumes[.]

Sur-Reply at 4.

       With respect to Defendants’ argument that “subcritical conditions” and “subcritical

pressure and temperature conditions” are different, Plaintiff cites Johnson Worldwide Assocs. Inc.

v. Zebco Corp. for the proposition that “[v]aried use of a disputed term in the written description

demonstrates the breadth of the term rather than providing a limited definition.” Sur-Reply at 5

(quoting 175 F.3d 985, 991 (Fed. Cir. 1999)). Plaintiff also cites Nichia Corp. v. Everlight Ams.,

Inc. for the proposition that “that if different words are used in the claim and specification, then

we must read that distinction as an intended difference.” Id. (quoting 855 F.3d 1328, 1335 (Fed.

Cir. 2017)). Plaintiff contends that the difference between these two terms is “illusory” because:

“both the disclosed embodiment and the recited claim phrase use the operative term ‘subcritical,’

and while one recites ‘pressure and temperature conditions’ generally the other describes specific

conditions of pressure (100 to 350 bar) and temperature (20 ºC to 30 ºC).” Sur-Reply at 5.

                                      The Court’s Analysis

       The Court finds that the specification supports Defendants’ proposed construction for the

reasons that follow. First—and most importantly—the Court agrees with Defendants that 5:10–

20 discloses three pressure and temperature combinations (as numbered below), as compared with

the two combinations Plaintiff advocates, wherein the second embodiment is a subset of the third.

       [P]lant material is extracted with the aid of CO2 under (1) supercritical pressure and
       temperature conditions at a temperature in the range of approx. [sic], 31° C. to 80°
       C. and at a pressure in the range of approx. [sic] 75 bar to 500 bar, or in the (2)
       subcritical range at a temperature of approx. [sic] 20° C. to 30° C[] and a
       supercritical pressure of approx. [sic] 100 bar to 350 bar; or extracted under (3)
       subcritical pressure and temperature conditions; and the obtained primary extract is
       separated under subcritical conditions, or under conditions that are subcritical in
       terms of pressure and supercritical in terms of temperature.



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5:10–20 (typos corrected and numerical annotations added).

       Based on three grammatical and word choice indicators, the Court concludes that

Defendants are correct that this passage discloses three separate pressure and temperature

combinations. The first indicator is that the word “or” separates each of the three pressure and

temperature combinations. Using “or” in this manner is a natural way to separate different

alternatives, and not two alternatives with a sub-alternative in the middle as Plaintiff contends.

       Separately, the Court also disagrees with Plaintiff’s argument that the specification uses

“or” to describe interchangeable concepts in 5:10–20 such that the third pressure and temperature

combination is “interchangeable” with the second. Sur-Reply at 3. The first problem with

Plaintiff’s argument is that the plain language of this passage does not indicate that “or” is being

used to describe “interchangeable” alternatives. Rather, the use of “or” appears to describe non-

overlapping alternatives. The second problem is that even if Plaintiff’s argument is correct that

this passage uses “or” to describe interchangeable alternatives, because “or” appears twice in this

passage (between the first and second, and the second and third pressure and temperature

combinations) and because the passage uses a semicolon to separate the second and third pressure

and temperature combinations, the second pressure and temperature combination is more likely a

subset of and/or interchangeable with the first pressure and temperature combination. Then, at

least according to this reasoning, “supercritical pressure and temperature conditions” covers both

when the pressure and temperature are each above their respective critical values (combination

(1)) and when pressure is above its critical value, but the temperature is below its critical value

(combination (2)). As such, “subcritical pressure and temperature” conditions would only cover

the situation when the pressure and temperature are both below their respective critical values.




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       The second indicator in this passage is that it describes “supercritical pressure and

temperature conditions” when the pressure (75 bar to 500 bar) and the temperature (31° C to 80°

C) both exceed their respective critical values (73.75 bar and 30.98° C). But, when describing the

second combination—where the pressure is supercritical (100 bar to 350 bar) and the temperature

is subcritical (20° C. to 30° C)—the specification notably does not use the word “conditions,” but

only describes the temperature as being in the “subcritical range.” Simply put, because the

specification uses “subcritical range” to refer to either the pressure or temperature being

subcritical, the Court concludes that the specification uses the phrase “subcritical pressure and

temperature conditions” to refer both the pressure and temperature being subcritical.

       The third indicator in this passage is that, although described in the “separation” context,

the last portion of this passage differentiates between “subcritical pressure and temperature

conditions” and split conditions, i.e., “subcritical in terms of pressure and supercritical in terms of

temperature.” This indicates that “subcritical pressure and temperature conditions” are met only

when both the pressure and temperature are below their respective critical values.

       The Court also does not agree with Plaintiff that 6:3–12 supports its proposed construction.

This passage provides that:

       The extraction process of the invention preferably operates in the supercritical
       range at a temperature of approx. [sic] 31° C. to 80° C. and a pressure of approx.
       [sic] 75 bar to 500 bar, in particular at a temperature of approx. 45° C. to 65° C.
       and a pressure of approx. [sic] 100 bar to 350 bar, preferably at a temperature of
       approx. 60° C. and a pressure of approx. [sic] 250 bar.

       In the subcritical range, in contrast, a temperature of approx. [sic] 20° C. to 30° C.
       and a supercritical pressure of approx. [sic] 100 bar to 350 bar are used.

6:3–12 (typo corrected).      The first paragraph in this passage corresponds to pressure and

temperature combination (1) in 5:10–20, namely, both of these passages describe that both the

pressure and temperature are supercritical. Compare 5:10–13 with 6:3–9. In fact, both passages

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recite the same pressure and temperature ranges (75 bar to 500 bar and approximately 31° C. to

80° C).        The second paragraph in this passage corresponds to pressure and temperature

combination (2) in 5:10–20, namely, both of these passages describe that the pressure is

supercritical while the temperature is subcritical. Compare 5:13–15 with 6:10–12. Both of these

passages also recite the same pressure and temperature ranges (100 bar to 350 bar and

approximately 20° C. to 30° C). Therefore, because 5:10–20 and 6:3–12 are directed to the same

pressure and temperature combinations, for the same reasons 5:10–20 did not support Plaintiff’s

proposed constructions, 6:3–12 likewise does not support Plaintiff’s proposed construction.

        With respect to 7:22–24 and 7:51–56, the Court finds that these passages tend to support

Defendants’ proposed construction more than Plaintiff’s argument. Both passages plainly describe

that the extract is separated under “conditions subcritical” and that the “preferabl[e]” pressures and

temperatures are all below their respective critical values. As such, although it is not dispositive,

the Court finds that both of these passages more closely align with Defendant’s position than

Plaintiff’s.

        Plaintiff contends that Defendants incorrectly cites passages regarding “separation” when

the relevant claim language focuses of “extraction.” Response at 12. Although Plaintiff is correct

that these passages describe subcritical conditions for “separation” while the asserted claims are

directed towards “extraction,” Plaintiff has not pointed to anything in the specification or otherwise

that explain why the meaning of “subcritical conditions” for “separation” has a different meaning

than “subcritical conditions” for “extraction.”       Rather, because “subcritical pressure and

temperature conditions” simply describe a pressure and temperature combination, the action—

extraction or separation—that occurs at that pressure and temperature combination is irrelevant.




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       Plaintiff also contends that because these passages use the word “preferably,” they describe

non-limiting examples. Response at 12. The Court agrees. But even if these passages do not

support Defendants’ proposed construction, because these recited pressured and temperature

values are not coextensive with the entire range of subcritical pressure and subcritical temperature

values, these passages do not provide support for Plaintiff’s proposed construction.

       c. Prosecution history

                           Arguments in Defendants’ Opening Brief

       Defendants contend that the prosecution history also supports its proposed construction for

at least two reasons. First, Defendants contend that the applicants distinguished use of CO 2 under

subcritical temperature and supercritical pressure during prosecution of the application for the

parent patent which eventually issued as U.S. Patent No. 8,895,078. Opening at 9. More

specifically, Defendants contend that pending claims of the ’078 Patent’s application, which

ultimately issued as claims 1-3, recite pressure and temperature combinations (1) to (3) from the

passage above. See, e.g., id. at 9 (citing id., Ex. 4 at 10 (Pending Claim 15), id., Ex. 5 (8,895,078

Patent, Claim 1)).




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Because alternatives (a) to (c) in Claim 1 of the parent ’078 Patent, correspond to the three sets of

pressure and temperature conditions described in 5:10–20, Defendants argue that “Applicants thus

identified ‘subcritical pressure and temperature conditions’ as a separate and distinct alternative

from CO2 at subcritical temperature and supercritical pressure.” Id at 10. Defendants contend

that this indicates that (1) Applicants chose only to claim alternative (c) in the ’632 Patent and (2)

“Applicants could have drafted the claims of the ’632 patent to clearly encompass the scope that

Canopy now seeks to capture through claim construction.” Id.

       Second, Defendants contend that the “Applicants narrowed their claims” in response to

obviousness rejections. Id. at 11. In particular, claim 1 of the original as-filed claims of the

application for ’632 Patent recited, in relevant part:

       [E]xtracting said plant material by means of CO 2
       (a) under supercritical pressure and temperature conditions at a temperature in a
       range of approx. 31 °C to 80°C and at a pressure in a range of approx. 75 bar or 500
       bar; or


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       (b) in liquefied form in the subcritical range at a temperature of approx. 20°C to
       30°C and a supercritical pressure of approx. 100 bar to 350 bar; or
       (c) in liquefied form under subcritical pressure and temperature conditions


Id. at 11 (citing Id., Ex. 6 (’632 patent prosecution history excerpts) at 6). After a § 103 rejection,

the Applicants deleted alternative (a) from all pending independent claims. Id. at 11 (citing Id.,

Ex. 6 (’632 patent prosecution history excerpts) at 27).




       Applicants also deleted alternative (b) from two of the pending three independent claims

(claims 16 and 22). Id. at 11 (citing Id., Ex. 6 (’632 patent prosecution history excerpts) at 28–

29).




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       After a second § 103 rejection, the applicants deleted alternative (b) from the only pending

independent claim that recited it, claim 1. Id. at 12 (citing Id., Ex. 6 (’632 patent prosecution

history excerpts) at 44).




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       As part of both amendments, Applicants noted that the claims had been amended to indicate

that extraction under supercritical conditions was not required. Id. at 11 (citing Id., Ex. 6 (’632

patent prosecution history excerpts) at 22, 53–54).

       Based on the Applicant’s prosecution statements, Defendants conclude that

       Thus, to avoid the prior art, over the course of the ’632 patent’s prosecution
       Applicants narrowed their claims to specifically exclude the two additional
       alternatives claimed in the parent ’078 patent but not the ’632 patent—namely,
       extraction with CO2 under supercritical conditions, and with CO2 under subcritical
       temperature and supercritical pressure. In doing so, Applicants surrendered the
       scope covered by these alternatives.

Opening at 12.

                           Arguments in Plaintiff’s Response Brief

       Plaintiff contends that Defendants have not met the “exacting” standard necessary to

support a finding of prosecution history disclaimer. Response at 14-15. In particular, Plaintiff

contends that Defendants relies on claims that were canceled, and therefore do not relate to the

presently asserted claims before the Court. Response at 14. Plaintiff contends that portions of the

prosecution history that Defendants relies on pre-date the applicant’s April 20, 2020 amendment,

where the applicant canceled all claims and submitted new claims that do not contain the

limitations or amendments that Defendants attempt to distinguish from the recited limitation in


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dispute. Id. Plaintiff further contends that Defendants’ reliance on the parent patent (’078 Patent)

is misplaced because the claims in the parent patent are similar to the claims that were canceled in

the ’632 Patent, and not those that ultimately issued. Id.

        Plaintiff contends that “in all three of the office action responses applicant submitted after

canceling the claims that GW relies on and submitting new claims, applicant distinguished the

claimed CO2 under subcritical pressure and temperature conditions from supercritical conditions

in the prior art, after which the examiner allowed the claims.” Response at 17.

                             Arguments in Defendants’ Reply Brief

        Defendants contend that the prosecution history that Plaintiff cites does not support its

proposed construction because it simply contrasts supercritical and subcritical conditions, and not

what “subcritical pressure and temperature conditions” are. Reply at 6.

        Defendants quote Omega Eng’g for the proposition that claim construction should be read

and interpreted in accordance with, inter alia, canceled claims. Id. at 9 (quoting 334 F.3d at 1323).

Accordingly, Defendants contend that it is proper to rely on the parent patent in this case. Reply

at 8.

                            Arguments in Plaintiff’s Sur-Reply Brief

        In its sur-reply, Plaintiff contends that the prosecution history indicates that “subcritical

conditions” / “subcritical pressure and temperature conditions” are simply pressure and

temperature conditions that are not supercritical. Sur-Reply at 6. Plaintiff further argues that the

applicants never distinguished “subcritical conditions” and “subcritical pressure and temperature

conditions” in the prosecution history. Id. at 7.

        With respect to the Defendants’ argument that the parent patent disclosed three

“alternatives,” but the current patent only claimed one of them, Plaintiff contends that the



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statement in question is over “10 years old” and is not a clear disclaimer. Sur-Reply at 7. More

specifically, Plaintiff argues that the applicant “implicitly” disclaimed the limitations recited in the

claims by canceling them and submitting new claims. Id. at 8. According to Plaintiff, the old

claims differed by contrasting supercritical pressure and temperature versus supercritical pressure

and subcritical temperatures while the new claims simply contrasted supercritical pressure and

temperature versus “subcritical pressure and temperature conditions.” Id.

                                       The Court’s Analysis

        The Court does not find that the prosecution history provides any additional insight as to

the meaning of this term beyond the plain language of the claims and the specification. Overall,

the statements in the prosecution history mirror those in the specification, namely, that the claims

in the parent patent and the as-filed/amended claims in the asserted patent recite three pressure and

temperature conditions: 1) supercritical pressure and supercritical temperature, 2) supercritical

pressure and subcritical temperature, and 3) subcritical pressure and temperature. But as was the

case for the specification, the prosecution history does not explicitly recite that both the pressure

and temperature need to be below their respective subcritical values. Additionally, like the

specification, there is no unambiguous statement—at least beyond the usage of the word “and”—

that describes that “subcritical pressure and temperature conditions” requires that both the pressure

and temperature need to be below their respective subcritical values.

        The standard for a disclaimer is that it needs to be clear and unambiguous. Liebel-

Flarsheim, 358 F.3d at 900. After considering the parties’ arguments, the Court concludes that

the evidence is not clear and unambiguous that the applicant made a disclaimer during prosecution.

More specifically, nothing in the prosecution history further limits the plain language of

“subcritical pressure and temperature conditions.” Rather, the basis for the alleged prosecution



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disclaimer is that the applicant amended the claim to exclude pressure and temperature

combinations (1) and (2), but notably, the applicant did not amend pressure and temperature

condition (3) in any way that changes the scope of this term. As such, although the applicant

changed the scope of the as-filed claims, because the applicant did not change the claim scope of

this term during prosecution, the Court finds the evidence for a prosecution disclaimer is not clear

and ambiguous.

       That said, although there is no prosecution disclaimer, applicant’s statements in the

prosecution history are consistent with and tend to support Defendants’ proposed construction, for

the same reasons as the claim language and the specification support Defendants’ proposed

construction.

       d. Extrinsic evidence

                             Arguments in Plaintiff’s Response Brief

       Plaintiff contends that based on the extrinsic evidence, a POSITA would understand that

subcritical pressure and temperature conditions includes when one is supercritical. Response at

17–20. In particular, Plaintiff quotes from a paper that describes that “[s]ubcritical CO 2 can be

achieved by either lowering the pressure below Pc or the temperature below Tc.” Response at 18

(quoting Response, Ex. A at Canopy_0000013332). Plaintiff also quotes from another paper in

support of its proposition that “POSITAs describe subcritical conditions in contrast with

supercritical conditions, consistent with its plain and ordinary meaning.”          Id. (emphasis in

original) (quoting Response, Ex. D. at Canopy_000001272 (“The term subcritical refers to a liquid

at temperatures between the atmospheric boiling point and the critical temperature, whereas in the

supercritical state, experimental conditions are higher than the critical temperature and

pressure.”)). Plaintiff finally cites to several papers that describe that extraction may be performed,



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using CO2 and not using CO2, with either the pressure or temperature below its respective critical

value, but not both. Response at 18–20.

                              Arguments in Defendants’ Reply Brief

        In its reply, Defendants reminds the Court that Phillips says that extrinsic evidence is less

reliable and is given little weight. Reply at 10. Defendants also contend that of the references that

Plaintiff cites, only two pre-date the priority date of the patent. Id.

                           Arguments in Defendants’ Sur-Reply Brief

        In its sur-reply, Plaintiff appears to repeat the same arguments from its Response. Sur-

Reply at 9–10. With respect to most of the extrinsic evidence post-dating the priority date of the

patent, Plaintiff argues that its proffered extrinsic evidence is still instructive. Reply at 10.

                                        The Court’s Analysis

        After carefully reviewing Plaintiff’s proffered extrinsic evidence, the Court finds that the

extrinsic evidence is not directly relevant and certainly does not outweigh the intrinsic evidence.

Phillips, 415 F.3d at 1317. The reason that Plaintiff’s proffered extrinsic evidence is not directly

relevant is because none of the extrinsic evidence is directed to the term “subcritical pressure and

temperature conditions,” but rather, the extrinsic evidence uses a wide range of somewhat similar

terms. Response, Ex. A at Canopy_000001332 (“subcritical CO 2”); Ex. D at Canopy_000001273

(“subcritical”), 1275 (“Super/subcritical fluid extraction tested conditions”); Ex. E at

Canopy_000001106 (“subcritical conditions”); Ex. F at Canopy_000001301 (“Subcritical (CO 2)

extraction”), 1302 (“sub-critical pressure”); Ex. G at Canopy_000001182 (“subcritical CO 2”),

1214–16 (“subcritical conditions”); Ex. H atCanopy_000001260 (“subcritical CO 2”); Ex. I at

Canopy_000001285 (“subcritical fluid extraction”); Ex. J at Canopy_000001263 (“Subcritical

(CO2) extraction); Ex. K at Canopy_000001323(“subcritical fluid extraction”); Ex. L at



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Canopy_000001314 (“subcritical 1,1,1,2-tetrailuoroethane”). Because “subcritical pressure and

temperatures conditions” is a narrower than “subcritical conditions,” the relevance of extrinsic

evidence directed towards the latter (and variants of the latter) is minimal. Therefore, Plaintiff’s

proffered extrinsic evidence does not –and cannot—outweigh the intrinsic evidence.



IV.    Conclusion

       In conclusion, for the reasons described herein, the Court finds that the claim language,

specification, and prosecution history support adopting Defendants’ proposed contruction.

Furthermore, because the extrinsic evidence is not directed to claim term at issue, it does not

outweigh the intrinsic evidence. Therefore, for the reasons described herein the Court adopts the

following as its final construction:



        Term            Plaintiff’s Proposed          Defendants’              Court’s Final
                           Construction                Proposed                Construction
                                                     Construction
 “CO2 in liquified     Plain-and-ordinary        CO2 in liquified form     Plain-and-ordinary
 form under            meaning                   under both subcritical    meaning wherein the
 subcritical                                     pressure and              plain-and-ordinary
 pressure and                                    temperature conditions    meaning is “CO2 in
 temperature                                                               liquified form under
 conditions”                                                               both subcritical
                                                                           pressure and
 U.S. Patent NO.                                                           temperature
 10,870,632 Patent,                                                        conditions.”
 Claims 1, 14

 Proposed by
 Defendant




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       Finally, to the extent the Court did not specifically summarize and/or analyze any other

arguments, the Court did not do so because the Court did not find those arguments to be persuasive

in general or as persuasive as the arguments that it did summarize and/or analyze.



SIGNED this 27th day of November, 2021.




                                     ALAN D ALBRIGHT
                                     UNITED STATES DISTRICT JUDGE




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